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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                      )
                                               )
     Plaintiff,                                )
                                               )
v.                                             )          Case No. CR-20-332-SLP
                                               )
JOSHUA DECKER,                                 )
                                               )
     Defendant.                                )

                                         ORDER

        This matter is currently set on the February 2021 trial docket. Due to the COVID-

19 pandemic, and pursuant to the General Orders of the Court, jury trials were suspended

in this judicial district from March through July 2020. From August through November

2020, the Court commenced a phased resumption of limited criminal jury trials, as

determined by the presiding judge and pursuant to the directives of the General Orders.

Beginning in December 2020, however, and pursuant to the most recent General Order

entered in this judicial district, In re: Suspension of Jury Trials and First Grand Jury

Session in February 2021 (G.O. 21-1), no jury trials have been or will be conducted through

February 2021 due to the COVID-19 pandemic. Accordingly, the Court finds it necessary

to continue the trial of this case to the March 9, 2021 trial docket.

        The Court has made general “ends of justice” findings in its General Orders.

Consistent with these findings and the continued need for COVID-19 protocols (to protect

the health and safety of jurors, parties, counsel, the USMS and Court personnel), the period

of delay resulting from the continuance of Defendant’s trial will be excluded under the
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Speedy Trial Act. The Court finds the ends of justice served by ordering the continuance

outweigh the best interests of the public and Defendant to a speedy trial. See 18 U.S.C.

§ 3161(h)(7)(A).

      IT IS THEREFORE ORDERED that this case is STRICKEN from the February 9,

2021 trial docket and continued to the March 9, 2021 trial docket.

      IT IS FURTHER ORDERED that all proposed jury instructions and requested voir

dire should be filed in accordance with LCrR 24 and LCrR 30.1.

      IT IS SO ORDERED this 6th day of January, 2021.




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